87 F.3d 1324
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.James PASCHALL, Defendant-Appellant.
    No. 95-50345.
    United States Court of Appeals, Ninth Circuit.
    Submitted June 11, 1996.*Decided June 14, 1996.
    
      Before:  CANBY, JOHN T. NOONAN, JR. and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      James Paschall appeals his conviction and sentence imposed following his guilty plea to armed bank robbery and use of a firearm during a crime of violence.   His counsel submitted a brief pursuant to Anders v. California, 386 U.S. 738 (1967), and a motion to withdraw as counsel of record.   Our independent review of the record discloses no issues for review.   Accordingly, we grant counsel's motion to withdraw and affirm the district court's judgment.
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34( );  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    